                                                 Case 16-16833                            Doc 13                Filed 05/31/16                         Page 1 of 13

 Fill in this information to identify the case:

 Debtor name            Shore Lands, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF MARYLAND

 Case number (if known)               16-16833-TJC
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        6,735,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    10.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        6,735,010.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        9,826,354.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            25,000.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           777,377.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         10,628,731.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                                        Case 16-16833                Doc 13       Filed 05/31/16       Page 2 of 13

 Fill in this information to identify the case:

 Debtor name         Shore Lands, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)         16-16833-TJC
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Bank of America                                         Checking Account                                                             $10.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                          $10.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                                        Case 16-16833                Doc 13       Filed 05/31/16       Page 3 of 13

 Debtor         Shore Lands, LLC                                                              Case number (If known) 16-16833-TJC
                Name




 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Single Parcel of 144
                     acres within the
                     Town of Easton, MD
                     including the
                     following:
                     Tax Map 26, parcel
                     45, Easton, MD
                     Tax Map 26, parcel
                     186, Easton, MD
                     Tax Map 35, parcel
                     112 Easton, MD                                                $6,562,276.00     Appraisal                       $6,700,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                                        Case 16-16833                Doc 13       Filed 05/31/16       Page 4 of 13

 Debtor         Shore Lands, LLC                                                             Case number (If known) 16-16833-TJC
                Name

            55.2.    6 lots Doncaster
                     Farms (not septic
                     approved)
                     St. Michael's Road,
                     Easton, MD 21601                                                       $0.00                                       $35,000.00




 56.        Total of Part 9.                                                                                                       $6,735,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                                            Case 16-16833                      Doc 13                Filed 05/31/16                  Page 5 of 13

 Debtor          Shore Lands, LLC                                                                                    Case number (If known) 16-16833-TJC
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                     Current value of real
                                                                                                     personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                   $10.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                       $6,735,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                    $10.00         + 91b.            $6,735,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $6,735,010.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
                                             Case 16-16833                Doc 13         Filed 05/31/16                Page 6 of 13

 Fill in this information to identify the case:

 Debtor name          Shore Lands, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)              16-16833-TJC
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                         Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                     Amount of claim             Value of collateral
                                                                                                                                                     that supports this
                                                                                                                         Do not deduct the value     claim
                                                                                                                         of collateral.
        The Talbot Bank of Easton,
 2.1                                                                                                                          $9,826,354.00             $6,700,000.00
        Maryland                                      Describe debtor's property that is subject to a lien
        Creditor's Name                               Single Parcel of 144 acres within the Town of
                                                      Easton, MD including the following:
                                                      Tax Map 26, parcel 45, Easton, MD
                                                      Tax Map 26, parcel 186, Easton, MD
        18 East Dover Street                          Tax Map 35, parcel 112 Easton, MD
        Easton, MD 21601
        Creditor's mailing address                    Describe the lien
                                                      Indemnity Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        6/7/06                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.




                                                                                                                               $9,826,354.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Alexis E. Kramer, Esquire
         Ewing, Dietz, Fountain & Kaludis, P.A.                                                                 Line    2.1
         16 South Washington Street
         Post Office Box 1146
         Easton, MD 21601-1146


Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
                                        Case 16-16833                Doc 13   Filed 05/31/16           Page 7 of 13

 Debtor       Shore Lands, LLC                                                           Case number (if know)   16-16833-TJC
              Name

        W. David Morse, Esquire
        Vice President, Legal Counsel                                                           Line    2.1
        The Talbot Bank of Easton, MD
        18 East Dover Street
        Easton, MD 21601




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                     page 2 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
                                        Case 16-16833                      Doc 13            Filed 05/31/16                       Page 8 of 13

 Fill in this information to identify the case:

 Debtor name         Shore Lands, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)           16-16833-TJC
                                                                                                                                                            Check if this is an
                                                                                                                                                            amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                           12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $25,000.00         $25,000.00
           Talbot County and Town of                                 Check all that apply.
           Easton, MD                                                   Contingent
           Talbot County Finance Office                                 Unliquidated
           Talbot County Court House                                    Disputed
           Easton, MD 21601
           Date or dates debt was incurred                           Basis for the claim:
           7/1/15                                                    real estate taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                   $65,249.00
           American Craftsman Construction, LLC                                        Contingent
           127 North Washington Street                                                 Unliquidated
           Easton, MD 21601                                                            Disputed
           Date(s) debt was incurred 2013
                                                                                   Basis for the claim:     loan
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?           No     Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                 $215,668.00
           Julia Beall Passyn                                                          Contingent
           1982 Chancellor Point                                                       Unliquidated
           Trappe, MD 21673
                                                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     capital account
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?           No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                              page 1 of 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                   40266                                           Best Case Bankruptcy
                                        Case 16-16833                  Doc 13         Filed 05/31/16                  Page 9 of 13

 Debtor       Shore Lands, LLC                                                                        Case number (if known)            16-16833-TJC
              Name

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $27,500.00
           Katherine Ball                                                       Contingent
           30205 Ward Drive                                                     Unliquidated
           Trappe, MD 21673                                                     Disputed
           Date(s) debt was incurred     2013                                Basis for the claim:    loan
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $50,000.00
           Kirsten Passyn                                                       Contingent
           102 Jack's Point                                                     Unliquidated
           Oxford, MD 21654                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    loan
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $121,100.00
           The Yorktowne Group, LLC                                             Contingent
           8694 Commerce Drive, Suite 1                                         Unliquidated
           Easton, MD 21601                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    business loan
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $173,205.00
           Theodore B. Passyn                                                   Contingent
           1982 Chancellor Point                                                Unliquidated
           Trappe, MD 21673
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    capital account
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $33,757.00
           Theodore Passyn                                                      Contingent
           8694 Commerce Drive, Suite 1                                         Unliquidated
           Easton, MD 21601                                                     Disputed
           Date(s) debt was incurred 2014
                                                                             Basis for the claim:    loan
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $90,898.00
           Theodore Passyn                                                      Contingent
           8694 Commerce Drive, Suite 1                                         Unliquidated
           Easton, MD 21601
                                                                                Disputed
           Date(s) debt was incurred 2014
                                                                             Basis for the claim:    capital account
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                                       Case 16-16833                  Doc 13        Filed 05/31/16            Page 10 of 13

 Debtor       Shore Lands, LLC                                                                    Case number (if known)   16-16833-TJC
              Name

 5a. Total claims from Part 1                                                                       5a.       $               25,000.00
 5b. Total claims from Part 2                                                                       5b.   +   $              777,377.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                802,377.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 3 of 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                                       Case 16-16833                 Doc 13   Filed 05/31/16           Page 11 of 13

 Fill in this information to identify the case:

 Debtor name         Shore Lands, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)         16-16833-TJC
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                                       Case 16-16833                 Doc 13     Filed 05/31/16      Page 12 of 13

 Fill in this information to identify the case:

 Debtor name         Shore Lands, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)         16-16833-TJC
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      American                                                                             The Talbot Bank of                D   2.1
             Craftsman                                                                            Easton, Maryland                  E/F
             Construction,
                                                                                                                                    G
             LLC



    2.2      Pin Oak                                                                              The Talbot Bank of                D   2.1
             Construction,                                                                        Easton, Maryland                  E/F
             LLC
                                                                                                                                    G




    2.3      Shore Lands II,                                                                      The Talbot Bank of                D   2.1
             LLC                                                                                  Easton, Maryland                  E/F
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
                                       Case 16-16833                    Doc 13         Filed 05/31/16            Page 13 of 13




 Fill in this information to identify the case:

 Debtor name         Shore Lands, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)         16-16833-TJC
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 27, 2016                            X /s/ Theodore B. Passyn
                                                                       Signature of individual signing on behalf of debtor

                                                                       Theodore B. Passyn
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
